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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:17CR149

       vs.
                                                                        ORDER
LENN W. ZUHLKE,

                       Defendant.


       This matter is before the court on defendant's MOTION FOR EXTENSION OF
PRETRIAL MOTION DEADLINE [32]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 60-day extension. Pretrial Motions shall be
filed by August 7, 2017.


       IT IS ORDERED:
       1. Defendant's MOTION FOR EXTENSION OF PRETRIAL MOTION DEADLINE
[32] is granted. Pretrial motions shall be filed on or before August 7, 2017.
       2. The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between June 8, 2017 and August 7, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel required additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).


       Dated this 9th day of June, 2017.

                                                      BY THE COURT:

                                                      s/ F.A. Gossett, III
                                                      United States Magistrate Judge
